“ 1'! Jon Eardley, Esq. | CA Bar No. 132577

Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Pagelof14 Page ID#:1

5, LAW OFFICES OF JON EARDLEY
| 50 Jericho Turnpike oT 4
3 | Suite 201 Se a
| Jericho, New York 11753 x! ao
4 |) 516-876-4213 ko
5; 516-876-6906 (fax) | 3

6 LAW OFFICES OF JON EARDLEY oe

7'| 1707 N Street, N.W. \
|| Washington, D.C. 20036

8 | 202-223-4884

10! Attorney for Britney J. Spears

11)
| UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF
a CALIFORNIA—LOS ANGELES DIVISION
13!
| CONSERVATORSHIP OF BRITNEY ) CASE NO. + _
4) JEAN SPEARS cvo8-01021 Ap
15, agit
| ) NOTICE OF REMOVAL OK
16 | ) ACTION UNDER 28 U.S.C. § 1441
7 ) (b) {Federal Question}
| )
18) )
9 )
20 )
| )
21! )
22)
23) )
24 |
25 )
%6, )
27 |
28) NOTICE OF REMOVAL UNDER 28 U.S.C, § 1441 (B) {
|
|

Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 2of14 Page ID #:2

TO THE CLERK OF THE ABOVE ENTITLED COURT:

2 Please take notice that the removing party, Britney J. Spears, hereby removes in
: | its entirety to this court the state court action described above, as the Conservatorship
5 of Britney Jean Spears, with the Los Angeles Superior Court case number BP

6 108870.

7

3 1. On February 1, 2008, an action was commenced in the Superior Court of the
9 state of California in and for the County of Los Angeles, entitled

10 Conservatorship of Britney Jean Spears, with the case number BP 108870. A
copy of the docket is attached hereto as Exhibit “A”. The documents have
13 been sealed, thus making it inappropriate to divulge the initial

4 2. Ms. Spears has not received the benefit of a single hearing before the court;
IS yet she has been stripped of her right to access counsel of her choosing and to
° meet with her counsel in a private meeting.

18: 3. Ms. Spears has been denied the right to associate freely with her friends. She

i) has been denied the right to make or receive telephone calls. She has been

denied the right to operate a motor vehicle, and must be accompanied by

” security guards when in public, whether in a motor vehicle or on foot. She has
23 been denied the right to receive and send mail.

24 | 4, Additionally, she has been denied the right to her finances; she is not allowed
. to access her money or her credit cards.

27| 5. This action is a civil action of which this court has original jurisdiction

. NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (B)
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Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 30f14 Page ID #:3

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pursuant to the provisions of 28 U.S.C. § 1441 (b) in that it is a civil action
that touches upon important issues of federal law, to wit whether an adult child
may be subjected by her parents to their complete and total control in that the
petitioner and conservator supplements the medications scheduled under the
Food, Drug, and Cosmetics Act, 21 U.S.C. § 301 et seq., and prescribed to her

by her doctors with a near total deprivation of civil rights.

. It is the unique interplay between those medications covered by the Food,

Drug, and Cosmetics Act, 21 U.S.C. § 301 et seq., and the utterly stifling
control imposed upon her by the conservator that puts this case within the

narrow ambit of the Supreme Court’s recent decision of Grable and Sons

Metal Products y, Darue Engineering, 545 U.S. 308 (2005).

. Pursuant to Grable, the case that is removed need not support an independent

cause of action in federal court. Merely, the case needs only to touch upon a
significant area of federal law, while balanced against the Congressional intent
to respect the balance of federal and state judicial responsibilities. Thus even
though there was no pretense of a federal cause of action, the Court recognized
federal question jurisdiction where: (1) the federal question was “important,”
(2) it was the “only” seriously contested issue in the case, (3) a federal forum
was needed to “vindicate [federal] administrative action,” and (4) the likely

recurrence of the question was “rare.” Grable, 545 U.S. at 315.

8. In the instant case, the federal question is important because Ms. Spears’

| NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (B)

Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 4of14 Page ID#:4

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prescribed medications are designed for out-patient use, yet she is being
confined by the conservator to the private prison of her own home, with no

opportunity to enjoy even a modicum of liberty or privacy whatsoever.

. The only seriously contested issue in this case is the interplay between her

confinement and the taking of her prescribed medication. It is submitted to
this court that the deprivation of her civil liberties by the conservator is so
severe as to interfere with the effectiveness of the scheduled medications that

are covered by the Food, Drug, and Cosmetics Act, 21 U.S.C. § 301 et seq.

10.A federal forum is needed to determine the nexus between the medications’

disclosures concerning the circumstances of use in an out-patient setting and
the suffocating confinement that Ms. Spears endures at the hands of her
conservator. Pharmaceutical labeling is inherently circumstantial in nature;
for the medication to realize its full effect, the circumstances of her existence

must be taken into consideration by the court.

I1.In this case, the recurrence of this question would be rare due to Ms. Spears’

unenviable status of having virtually no privacy in her life. Numerous
scientific studies have shown the direct relationship between the lack of
privacy and actual physical iliness. Ms. Spears may be the most public person
who has ever lived, and it is unlikely that any competent evidence exists as to
the severity of physical illness attributable to the magnitude of “publicity”

surrounding her nonexistent private life,

NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (B)

Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page5of14 Page ID#:5

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12.Irrespective of the present reality of her existence, Ms. Spears is entitled to

those rights deriving from the first ten amendments of the United States
Constitution and the Fourteenth Amendment. Additionally, due to the nature
of the implementation of the conservatorship, Ms. Spears may be entitled to
relief pursuant to 42 U.S.C. § 1983, et seq.

13.Ms. Spears is a litigant in the family law division of the Los Angeles Superior
Court. The matter has been hotly contested. Currently her children are living
with their father as a result of an order of the family law division of the Los
Angeles Superior Court. However, the order is not final. It is doubtful that
Ms. Spears can receive equal protection and a fair trial or hearing in the
custody proceedings because of the intense media scrutiny of what would
normally be private aspects of a person’s life.

14.The United States District Court, unlike the Los Angeles Superior Court, has
the capacity to issue a nation wide injunction to protect her civil liberties and
provide a measure of relief in the ensuing litigation involving the custody
matter. Nowhere in the Constitution is it written that an individual can be
denied his or her civil liberties because of a lack of privacy. There in fact
exists a penumbra of rights deriving from the first ten amendments of the
Constitution that palpably recognizes a right to privacy. Under the current

circumstances, the conservator is denying Ms. Spears not only her liberty, but

| NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (B)

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Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 6of14 Page ID #:6

the ability to participate effectively in the ongoing custody litigation in the Los
Angeles Superior Court.
4 | 15.While normally in a removal action the District Court must take the plaintiff's
5. | pleadings as it finds them, a different approach is utilized when a colorable
6 claim of manipulation of pleadings is raised. While issues of liability may not
| ordinarily be determined on a motion to remand, it is well settled that upon
9 allegations of such artful pleading designed to prevent removal, federal courts
10) may look beyond the pleadings to determine the true intent of the parties.
Although fair on its face, the pleading may be a sham or fraudulent device to
13), prevent removal. The court may pierce the pleadings and consider the entire
14 | record to determine the basis of the case by any means available. See Lewis v.
a Time, Inc., 83 F.R.D. 455, 460 (E.D.Cal.1979).

:

18 Date: February 14, 2008 By: a eee

Jon Eardley, Esq.

27)
28) | NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (B)
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Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 7of14 Page ID#:7

EXHIBIT A
Los Anaeles SupefeA@G nd: OrEMsQI.Qad-PSG-RC Document1 Filed 02/14/08 Page 8o0f14 Page ID Fos 12:30 PM

Case Summary

Case Number: 87108870
SPEARS, BRITNEY JEAN - CONSERVATORSHIP

Filing Date: 02/01/2008
Case Type: Conservatorship-Pers & Estate (General Jurisdiction)
Status: Pending

Future Hearings

02/14/2008 at 01:30 pm in department 9 at 111 North Hill Street, Los Angeles,
CA 90012
APPT. TEMP CONSERVATOR OF PERSON

02/14/2008 at 01:30 pm in department 9 at 111 North Hill Street, Los Angeles,
CA 90012
APPT. TEMP CONSERVATOR OF ESTATE

02/22/2008 at 01:30 pm in department 9 at 111 North Hill Street, Los Angeles,
CA 90012
MOTION/APPL-TEMP RESTRAINING ORDER (PERSON RESTRAINED-OSAMA LUFTI)

03/10/2008 at 10:30 am in department 9 at 111 North Hill Street, Los Angeles,
CA 90012
APPT. CONSERVATOR OF PERSON

Decuments Filed | Proceeding Information

Parties

COHEN JERYLL S. ESQ. - Attorney for Petitioner
SPEARS BRITNEY JEAN - Subject Person

SPEARS JAMES P. - Petitioner

THOREEN VIVIAN LEE ESQ. - Attorney for Petitioner
WALLET ANDREW M. - Real Party in Interest

WYLE GERALDINE A. ESQ. - Attorney for Petitioner

Case Information | Party Information | Proceeding Information

Documents Filed (Filing dates listed in descending order)

02/06/2008 Order-Extending Temporary Letters
Filed by Attorney for Petitioner

02/06/2008 Ltr-Temp Conservator of Person
Filed by Attorney for Petitioner

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Los Anaeles supehoP Era: OR ENs91081-PSG-RC Document 1 Filed 02/14/08 Page 9of14 Page PF Bos 12-20 PM

02/06/2008 Ltr-Temp Conservator of Estate
Filed by Attorney for Petitioner

02/04/2008 Request (MEDIA REQUEST TO PHOTOGRAPH, RECORD, OR
BROADCAST )
Filed by Real Party in Interest

02/04/2008 Order - Other (ON MEDIA REQUEST TO PERMIT COVRGE )
Filed by Real Party in Interest

02/04/2008 Declaration - Probate (OF VIVIAN LEE THOREEN )
Filed by Attorney for Petitioner

02/04/2008 Declaration - Probate (OF JAMES P. SPEARS )
Filed by Attorney for Petitioner

02/04/2008 Declaration - Probate (OF GERALDINE A. WYLE )
Filed by Attorney for Petitioner

02/04/2008 Notice - Probate (OF PARTIAL W/DRAWAL OF APPL. TO SEAL
RECORDS )
Filed by Attorney for Petitioner

02/04/2008 Supplemental Declaration
Filed by Attorney for Petitioner

02/04/2008 Declaration - Probate (OF JERYLL S. COHEN )
Filed by Attorney for Petitioner

02/01/2008 Conservatorship of Person
Filed by Petitioner

02/01/2008 Authority - ExParte Application
Filed by Petitioner

02/01/2008 Appt. Temp Conservator of Person
Filed by Petitioner

02/01/2008 Appt. Temp Conservator of Estate
Filed by Petitioner

02/01/2008 Consent To Act
Filed by Attorney for Petitioner

02/01/2008 Ord-Appointing Counsel
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF LYNNE SPEARS )
Filed by Attorney for Petitioner

02/01/2008 Petition for Appointment (OF TEMP. CONSERVATOR )
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF JAMES P, SPEARS )
Filed by Attorney for Petitioner

http: //www.iasuperiorcourt.org/civilCaseSummary/index.asp?CaseType=Probate Page 2 of 4
Los Angeles S Case 2:08-cy-01021-PSG-RC Document1 Filed 02/14/08 Page 10 0f14 Page ID #:10
os Angeles superior lo

urt - Civil Case Summary 02/14/2008 12:30 PM

02/01/2008 MOTION/APPL-TEMP RESTAINING ORDER

02/01/2008 Declaration - Probate (OF GERALDINE A. WYLE )
Fiied by Attorney for Petitioner

02/01/2008 Notice of Lodging
Filed by Attorney for Petitioner

02/01/2008 Application - misc (TO SEAL RECORD )
Filed by Attorney for Petitioner

02/01/2008 Memorandum - Other
Filed by Attorney for Petitioner

02/01/2008 Petition for Appointment (OF TEMP. CONSERVATOR - ESTATE )
Filed by Attorney for Petitioner

02/01/2008 Application - misc (TO SEAL RECORD - ESTATE }
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF LYNNE SPEARS - EX PARTE }
Filed by Attorney for Petitioner

02/01/2008 Ord-Appt Court Investigator
Filed by Attorney for Petitioner

02/01/2008 Order - Other (DISPENSING WITH NOTICE )
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF GERALDIN A. WYLE - EX PARTE }
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF JAMES P. SPEARS - EX PARTE )
Filed by Attorney for Petitioner

02/01/2008 Declaration - Probate (OF LYNNE SPEARS - ES PARTE }
Filed by Attorney for Petitioner

02/01/2008 Application - misc (TO SEAL RECORD - PERSON )
Filed by Attorney for Petitioner

02/01/2008 Ord-Appt Temp Consor of Person (NO BOND )
Filed by Attorney for Petitioner

02/01/2008 Ltr-Conservator of Person (NO BOND )
Filed by Attorney for Petitioner

02/01/2008 Ord-Appt Temp Consor of Estate (BONND IS FIXED AT $100,000.00 )
Filed by Attorney for Petitioner

02/01/2008 QBond-AMER. CONTRACTORS INDEMNITY ($50,000.00 - QUALIFYING
BOND )

Filed by Attorney for Conservator

02/01/2008 QBond-AMER. CONTRACTORS INDEMNITY ($50,000.00 - QUALIFYING
BOND )

http. / /www.lasuperiorcourt.org/civiiCaseSummary/index.asp?CaseType=Probate Page 3 of 4
Los Angeles SuferiaB@nat OOv0 Wald $GeayPSG-RC Document 1 Filed 02/14/08 Page 11 0f14 Page JD.#hde 12-30 pw

Filed by Attorney for Petitioner

02/01/2008 iLtr-Temp Conservator of Estate
Filed by Attorney for Petitioner

02/01/2008 Notice-Hearing (Probate) (AND TRO )
Filed by Attorney for Petitioner

02/01/2008 Request (FOR ORDER TO STOP HARASSMENT )
Filed by Attorney for Petitioner

Case Information | Party information | Documents Filed

Proceedings Held (Proceeding dates listed in descending order)
None

Case Information | Party Information | Documents Filed | Proceeding information

http://www.lasuperiorcourt.org /civilCaseSummary/index.asp?CaseType=Probate Page 4 of 4
Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 12o0f14 Page ID #:12

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Philip S. Gutierrez and the assigned
discovery Magistrate Judge is Rosalyn M. Chapman.

The case number on all documents filed with the Court should read as follows:

CVO8- 1021 PSG (RCx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery reiated motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this natice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on aif plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) — NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 130f14 Page ID#:13

UNITED STATES DISTRICT COURT. CENTRAL DISTRICT OF CALIFORNIA
CIVEL COVER SHEET

TPG) PLAIN TIRES beck box you are representing yourself Ty DEFENDANTS
Consens atorstip af Brings: Spears Britney J, Spears

(B) Comty of Rosnfotiee af First Listed Plaintiff ¢ bxeept in lS. Phaintith Casesd: County of Residence of Fst Listed Defendant din LoS. Plainady¢ uses t Iii y
Los Angeles Los Angeles

Ce} Averness i Firm Name, Address and Delephune Number Ifyou are representing Attomeys UP Known)

calirse) pra ide sumed

Laknewn Jon Eardley, $B#132577. $0 Jericho Tumpike. Suite 201. Jericho. New

York 11753
H. BASES OF JURISDICTION (Place an X in one box only) IH. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversuy Cases Only
(Place an X in une box tor plaintiff and one for defendant.)
PbS. Geverniment Phuaneitt wf Federal Questign (1.8. Y a PTF DEF
Gioxemment Not a Party) Citizen of This State 1 1 lncorporstted or Principal Plice = f)4° 4
of Business in this State
T2008, Government Defendant 574 Diversity Indicate Cituzenship | Citizen of Another State e222 Incorporated and Prinerpal Place C]S 9 [74
of Parhes in len IL of Busmess in Another State
Citizen or Subject of a Foreign Country 773 3 Foreien Nation Te Fe
WW. ORIGIN (Place an X in one box only.)
S21 Original ww Removed from 113 Remanded from Cl 4 Reinstated or) 5 Transferred ftom another district (specify); 6 Muli- [17 Appeal to District
Proceeding State Court Appellate Court Reopened District Junige from
Litigation Miugistrate Judge

¥. REQUESTED IN COMPLAINT: JURY DEMAND: (] Yes No (Cheek Yes" only if demanded in eomplaint.1
CLASS ACTION under FLR.C.P. 23: 1 Vex afNo O MONEY DEMANDED IN COMPLAIN EF: §

VE CAUSE OF ACTION (Cite the GS. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity}

Violation of Food, Drug, and Casmetic Act: underlying federal question.

VIL NATURE OF SUIT (Place an X in one box only.)

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
L140 State Reapportionment [110 tasurance PERSONAL INJURY PERSONAL PETITIONS CUO Fair Labor Standards
440) Anntrust E1130) Marine C310 Airplane PROPERTY 0510 Motions te Act
430 Banks and Banking 130 Miller Aci S315 Airplane Product 10 370 Other Fraud Vacate Sentence J 720) Labor/Mymi.
OAS) Commerce ¢! C] 140° Negotiate fustrument Liability 371 Truth in Lending Habeas Corpus Relations
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21460 Deportation Overpayment & Skinder Property Damage | 535 Death Penalty Reporting &
2470) Racketeer Influenced Enforcement of 0330 Fed. Employers’ [1 385 Property Damage 10 540) Mandamus Disclosure Act
and Corrupt Judginent Liability Product Liability Other 740 Raihyvay Labor Act
Organizations O15) Medicare Act 0340 Marine BANKRUPTCY 0D 380 Civil Rights 0 790 Other Labor
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490 Cuble Sat 1V Student Loan (Exel. Liability 158 FORFEITURE ¢ CJ 741 Fpl Ret, Inc.
SIO Selective Service Veterans) £1350 Motor Vehicle (4423 Withdrawal 28 PENALTY Seeurity Act
CJ SSO Securities Commudities [7 153 Recovery of LJ 355 Motor Vehicle USC 187 Oi Agriculture PROPERTY RIGHTS
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<2 800) Other Statutory Actions {C7 190 Other Contract 4] 362 Personal Injury- | 443 Nousing:Acco- Seizure of SOCEAL SECURITY
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893) Prvironmental Matters REAL. PROPERTY Cl] 368 Asbestos Personal Disabilities - Codd RR. & Truck (40Styh1
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90) Appeal of Fee Determi- {71230 Rear Lease & Ejectment Disabilities Sater Health FEDERAL FAX SUITS
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Aveuss lo tustice O248 Tort Product Liability M340 Other Civil or Defendants
ce SU) Constitution alin. of” 5 290 AlbOiher Real Property Rights “T8"1 IRS-Third Party 26
Shite Statutes, USC 709

Villa). IDENTICAL CASES: [Has this action been previnusly filed and dismissed, remanded or closed? WNo Yes

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FOR OFFICE USE ONLY: Case Number:

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Case 2:08-cv-01021-PSG-RC Document1 Filed 02/14/08 Page 14o0f14 Page ID #:14

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CRIL COVER SHEEE

AFTER COMPLETING THE FRONE SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW,

SGU, RED ATED CASES: Hive ais canes been pres tously filed that ace related 02 the present case? yf’No ZG Yes

PPyes. Est case mlimhertss:

Civil cases ore deemed related if a previously filed cuse and the present case:

HOheck all boxes thatapply) 7 AL Arise from the sare or elusels related (raitsactions, happenings. or events: or

<8. Call ror determination of the same or substantially related or similar questions of law and thet: or

0. For other reasens would entail substangal duplication of labor if heard by different judges; or

=). Involve the sume patent, rrademark or copyright, and one of the factors identilied above in a. borg also os preseal

IN, VENUE: bist the California County, or State if other rhan Caliternia, in which EACH named plaintiff resides (Use an additional sheet if Weeessary)
— Check here if the U8, government, its agencies or employees ix a named plaintiff,

Los Angeles

List the Cadtoria County, or State if other than California, in which EACH named detendant resides. (Use an additional sheet iP necessary,
ET} Check here tf the b.8. goverment, its agencies or employees is a named defendant.

Los Angeles

List the California County. or State if other than Califomia, in which EACH clain arose. (Use an additional sheet if necessury }
Nate: In Tand condemnation cases, use the location of the tract of land involved

Los Angeles

Xx. SIGNATURE OF ATTORNEY (OR PRO PER):

Se

fo est pe Date PLL, DP Se

a
Notice to Counsel/Parties: “The CV-71 (45-44) Civil Cover Sheet and the information contained herein agither replace nor supplement the filing and service of pleadings
or other papers as required by law, This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics. venue and initiating the civil docket sheet, (For more detailed Insttuctions, sev separate instructions

sheet |

Key to Statistical Codes relating to Social Security Cases:

Nature of Suit Code

RG]

8ed

S63

sO4

OS

Abbreviation

HEA

BI

DWC

DIWW

SSID

RSI

Substantive Statement of Cause of Action

All chums for bealth insucance benetits (Medicare) under Title 13. Part A. of the Social Security Act as amended
Also, include claims by hospitals. skilled nursing favilities, ete,. for certification as providers of services under the
program, (42 0 S.C. [935k R(by

Alf ciaims for “Black Lung” benetits under Titie 4. Part B. of the Federal Cua! Vine Health and Sutety Act of [96u
GBOLS.C, 923)

All claims filed by insured workers for disadilin insurance benefits under Sith: 2 of the Social Sec uri, AG as
amended: phis all claims filed for child's insurance benefits based an shsability, 208.0. Ste)

All claims filed for widows or widowers insurance benefits based on disability under Cite 2 of the Social Securing
Act, as amended. (42 U.S.C. 405¢2))

Ail claims for supplemental security income payments based upon disability Jiled under Tile 14 af the Social
Security Act, as amended,

All claims for retirement (old age) and survivors benefits under Title 2 uf the Soetal Security Act. as amengled. 6-42
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